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FILED

JAN 29 2020
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

} Case No. JSC
CVi20 80023 MISC.

IN RE: REQUEST FOR JUDICIAL ASSISTANCE}

FROM OBOLONSKYI DISTRICT COURTIN ) UNITED STATES’ MEMORANDUM OF
KYIV, UKRAINE IN THE MATTER OF } LAW IN SUPPORT OF EX PARTE
LIUDMYLA PETRIVNA KOZLOVSKA V. } APPLICATION FOR ORDER PURSUANT
PUBLIC ORGANIZATION “STOP } TO 28 U.S.C. § 1782
CORRUPTION” )

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Now comes the United States of America, by its counsel, David L. Anderson, United States
Attorney for the Northern District of California, and Emmet P. Ong, Assistant United States Attorney,

and submits this Memorandum of Law in support of the Ex Parte Application for Order,’ pursuant to 28

 

! Gushlak v. Gushlak, 486 F. App’x 215, 217 (2d Cir. 2012) (“It is neither uncommon nor improper for
district courts to grant applications made pursuant to § 1782 ex parte. The respondent’s due process
rights are not violated because he can later challenge any discovery request by moving to quash pursuant
to Federal Rule of Civil Procedure 45{(d)](3).”). See also In re Letters Rogatory from Tokyo Dist.,
Tokyo, Japan, 539 F.2d 1216, 1219 (9th Cir. 1976) (“Letters Rogatory are customarily received and
appropriate action taken with respect thereto ex parte. The witnesses can and have raised objections and

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U.S.C. § 1782, to execute a Letter of Request from judiciai authorities in Kyiv, Ukraine for international
judicial assistance to obtain certain information from Cloudflare, Inc. (“Cloudflare’).
1. INTRODUCTION

The request for international judicial assistance comes from the Obolonskyi District Court in
Kyiv, Ukraine (“Ukrainian Court”). Specifically, the Ukrainian Court has issued a Letter of Request
dated September 27, 2019 requesting judicial assistance to obtain testimony for use in the case captioned
Liudmyla Petrivna Kozlovska v. Public Organization “Stop Corruption”, Foreign Reference Number
756/14307/18. Declaration of Emmet P. Ong (“Ong Decl.”), Ex. A, Letter of Request.

The facts of this case, as stated in the Letter of Request, indicate that this matter is a civil
proceeding in which the Ukrainian Court is adjudicating a case regarding the “protection of honor,
dignity, business reputation and refutation of false information.” /d., Ex. A., Letter of Request, at §] 15.a.
The plaintiff alleges that the defendant posted an article containing negative false information about her
on the website www.stopcor.org. /d., Ex. A., Letter of Request, at 15.6. The defendant contends that
it has no connection to the article because it is not an owner or user of www.stopcor.org, and does not
have access to the servers of this website. /d., Ex. A., Letter of Request, at { 15.c. To make its
determination, the Ukrainian Court is requesting information from Cloudflare regarding the identity and
contact information of the person or entity who is receiving hosting services from Cloudflare as it
pertains to www.stopcor.org. /d., Ex. A., Letter of Request, at { 16.a-b. The Ukrainian Court requests
that this information be provided by June 9, 2020. /d., Ex. A., Letter of Request, at | 12.

The Ukrainian Court’s request was transmitted to the U.S. Department of Justice, Civil Division,
Office of Foreign Litigation, Office of International Judicial Assistance (“ONJA”) m Washington D.C.

pursuant to the Hague Convention on the Taking of Evidence Abroad in Civil or Commercial Matters,

 

exercised their due process rights by motions to quash the subpoenas.”); Jn re Letter of Request from
Supreme Ct. of Hong Kong, 138 F.R.D. 27, 32 n.6 (S.D.N.Y. 1991); Jn re Application of Masters for an
Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for Use in a Foreign Proceeding, 315 F.
Supp. 3d 269, 272 (D.D.C. 2018); In re Anglin, No. 7:09¢v5011, 2009 WL 4739481, at *1-2 (D. Neb.
Dec. 4, 2009). Note, even though these applications are generally filed ex parte, they do not need to be
filed under seal. See, e.g. Order denying Motion to Seal U.S.’s Application for Ex Parte Order
Appointing Commissioner Pursuant to 28 U.S.C. § 1782, Jn re Mutual Assistance of Local Court of
Wetzlar, Germany, 1:17-mc-00078-SKO, 2018 WL 306678, at *3 (E.D. Cal. Jan. 5, 2018).

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March 18, 1970, 23 U.S.T. 2555, 847 U.N.T.S. 12140 (“Hague Evidence Convention”). /d., Ex. A.,
Letter of Request, at J 10

The request was then transmitted to the U.S. Attomney’s Office for the Northern District of
California for execution in accordance with 28 C.F.R. § 0.49{c). fd. 2 & Ex. A., Letter from OIA. To
execute these requests for international judicial assistance, authority must be obtained from this Court.
28 U.S.C. § 1782.
Ii. ATTEMPTS TO OBTAIN THE REQUESTED INFORMATION

On January 21, 2020, AUSA Ong contacted Douglas Kramer, the General Counsel of
Cloudflare, by e-mail to discuss the Letter of Request. Ong Decl. 4. Mr. Douglas responded to AUSA
Ong’s e-mail that same day and referred him to Cloudflare’s dedicated e-mail address
(abusetlaw@cloudflare.com) for such requests. fd. On January 22, 2020, Justin Paine, a representative
of Cloudflare, contacted AUSA Ong through the dedicated e-mail address. /d. 95. AUSA Ong
responded to Mr. Paine’s e-mail that same day, asking for Cloudflare’s voluntary compliance with the
Letter of Request and providing a copy thereof. id. Later that day, Mr. Paine notified AUSA Ong that,
based on its policies, Cloudflare “would not be in a position to voluntarily comply with this request.”
See id. at 95 & Ex. C.
iil. ARGUMENT

A. The Hague Evidence Convention

The Hague Evidence Convention affords each signatory nation the use of the judicial process of |
other signatory nations, where such assistance is needed in civil or commercial matters, “to facilitate the
transmission and execution of Letters of Request and to further the accommodation of the different
methods which they use for this purpose.” Hague Evidence Convention pmbl. The Hague Evidence
Convention “prescribes certain procedures by which a judicial authority in one contracting state may
request evidence located in another contracting state.” Société Nationale Industrielle Aérospatiale v.
U.S. Dist. Court for the S. Dist. of Iowa, 482 U.S. 522, 524 (1987). The Hague Evidence Convention is
in force in both the United States and Ukraine. Hague Conference on Private International Law, Status

Table for the Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial

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Matters, available at https://www.hcch.net/en/instruments/conventions/status-table/?cid=82 (last visited
January 28, 2020) (The Hague Evidence Convention entered into force between the United States and
Ukraine on April 26, 2002).

Article 10 of the Hague Evidence Convention provides that:

In executing a Letter of Request the requested authority shall apply the appropriate measures of

compulsion in the instances and to the same extent as are provided by its internal law for the

execution of orders issued by the authorities of its own country or of requests made by parties in
internal proceedings.

Hague Evidence Convention, art. 10. Furthermore, Article 9 of the Hague Evidence Convention
provides, in pertinent part, that: “the judicial authority which executes a Letter of Request shall apply its
own law as to the methods and procedures to be followed, and that a ‘Letter of Request shall be
executed expeditiously.’” Jd. at art. 9.

Under Article VI of the United States Constitution, treaties, such as the Hague Evidence
Convention, are the law of the land, on an equal footing with acts of Congress, and are binding on the
courts. See Bell v. Clark, 437 F.2d 200, 203 (4th Cir. 1971). See also Gandara v. Bennett, 528 F.3d
823, 830 (11th Cir. 2008) (stating that self-executing treaties are “immediately and directly binding on
state and federal courts pursuant to the Supremacy Clause”) (Rodgers, J., concurring) (quoting Medellin
v. Texas, 552 U.S. 491, 510 (2008)); Bishop v. Reno, 210 F.3d 1295, 1299 (11th Cir. 2000) (concluding
that “an Act of Congress” is on “full parity with a treaty”) (quoting Reid v. Covert, 354 U.S. 1, 18
(2000).

B. Statutory Considerations Weigh in Favor of Granting the United States’
Application

The authority for this Court to assist foreign tribunals in obtaining testimony is contained in 28

U.S.C. § 1782. This section states:
Assistance to foreign and international tribunals and to litigants before such

tribunals

(a) The district court of the district in which a person resides or is found
may order him to give his testimony or statement or to produce a
document or other thing for use in a proceeding in a foreign or
international tribunal, including criminal investigations conducted
before formal accusation. The order may be made pursuant to a letter
rogatory issued, or request made, by a foreign or international tribunal

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or upon the application of any interested person and may direct that the
testimony or statement be given, or the document or other thing be
produced, before a person appointed by the court. By virtue of his
appointment, the person appointed has power to administer any
necessary oath and take the testimony or statement. The order may
prescribe the practice and procedure, which may be in whole or part the
practice and procedure of the foreign country or the intemational
tribunal, for taking the testimony or statement or producing the
document or other thing. To the extent that the order does not prescribe
otherwise, the testimony or statement shall be taken, and the document
or other thing produced, in accordance with the Federal Rules of Civil
Procedure.

28 U.S.C. § 1782(a). See also Aerospatiale, 482 U.S. at 529 (providing a brief history of the Hague
Evidence Convention). Section 1782 “is the product of congressional efforts, over the span of nearly
150 years, to provide federal-court assistance in gathering evidence for use in foreign tribunals.” Jnte/
Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004). By this law, Congress intended that
the United States set an example to other nations by making judicial assistance generously available.
See, e.g., In re Request for Assistance from Ministry of Legal Affairs of Trin. & Tobago, 848 F.2d 1151,
1153-54 (11th Cir. 1988) (discussing several historical instances in which Congress has broadened §
1782, each time increasing the statute’s ability to provide international judicial assistance), abrogated on
other grounds by Intel Corp., 542 U.S. 241. District courts have repeatedly appointed Assistant United
States Attorneys to act as commissioners pursuant to this provision for the purpose of rendering judicial
assistance to foreign courts in response to a request for assistance. See, e.g., In re Clerici, 481 F.3d
1324, 1327 (11th Cir. 2007) (affirming a district court’s appointment of an Assistant United States
Attorney to obtain sworn answers to questions posed in letters rogatory); see also In re Request for
Judicial Assistance From the Nat’l Court of Original Jurisdiction No. 68 in Buenos Aires, Argentina,
No. 3:19-MC-31-J-39MCR, 2019 WL 5528394 (M.D. Fla. Oct. 25, 2019) (appointing Department of

Justice Attorney commissioner to obtain evidence from Memill Lynch).

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This Court is authorized to provide assistance to the Ukrainian Court if the three requirements set
forth in § 1782 are met. Those requirements are: (1) the person or document for which discovery is
sought resides or is found in the district; (2) the discovery is for use in a proceeding before a foreign or
international tribunal; and (3) the application is made “by a foreign or international tnbuna!” or “any
interested person.” In re Application Pursuant to 28 U.S.C. § 1782 for an Order Permitting Bayer AG
to Take Discovery, 146 F.3d 188, 193 (3d Cir. 1988); Schmitz v. Bernstein Liebhard & Lifshitz, LLP,
376 F.3d 79, 83 (2d Cir. 2004); see also S. Rep. No. 88-1580 at 2 (1964), reprinted in 1964
US.C.C_A.N, 3783 (providing Congress’ general statement regarding the purpose behind the statute);
Intel, 542 U.S. at 248-49 (providing a brief history of Section 1782 and federal court aid to foreign
tribunals).

Here, each of these threshold statutory requirements is easily met. First, Cloudflare “resides or is
found in” the Northern District of California because its offices are located in San Francisco, California.
Ong Decl. § 6 & Ex. D. Second, the Letter of Request explains that the information is “for use in a
proceeding before a foreign tribunal” because it is needed to adjudicate a defense raised by the
defendant. id., Ex. A, Letter of Request, at { 16.b. Third, the Letter of Request itself also reflects that it
“is made by a foreign or international tribunal,” namely, the Ukrainian Court. /d., Ex. A, Letter of
Request, at J] 13.a.

Cy Discretionary Considerations Weigh in Favor of Granting the United States’
Application

“TA] district court is not required to grant a § 1782(a) discovery application simply because it has
the authority to do so.” See Intel, 542 U.S. at 264. Indeed, § 1782 “affords the district courts “wide
discretion’ in responding to requests for assistance in proceedings before foreign tribunals.” A/ Fayed v.
United States, 210 F.3d 421, 424 (4th Cir. 2000) (quoting Jn re Esses, 101 F.3d 873, 876 (2d. Cir.
1996)). The Supreme Court has set forth certain discretionary factors for a district court to consider

before granting a request for judicial assistance:

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(1) whether the person from whom discovery is sought is a participant in the foreign proceeding;
(2) the nature of the foreign tribunal, the character of the foreign proceedings, and the receptivity
of the foreign entity to judicial assistance; (3) whether the request conceals an attempt to
circumvent foreign proof-gathering restrictions or other policies of a foreign country or the
United States; and (4) whether the requested information is unduly intrusive or burdensome.

Intel, 542 U.S. at 264-65. “In exercising its discretion under § 1782, the district court should be guided
by the statute’s twin aims of providing efficient means of assistance to participants in international
litigation in our federal courts and encouraging foreign countries by example to provide similar means
of assistance to our courts.”” 4/ Fayed, 210 F.3d at 424 (quoting /n re Malev Hungarian Airlines, 964
F.2d 97, 100 (2d Cir. 1992)); see also United States v. Morris (in re Letter of Request from Amtsgericht
Ingolstadt, Fed. Republic of Ger.), 82 F.3d 590, 592 (4th Cir. 1996) (“Plainly, the . . . statute envision(s]
considerable cooperation with foreign courts’ requests for assistance and a general practice of
reciprocity.”). Here again, each of these discretionary factors weigh in favor of assisting the Ukrainian
Court.

With respect to the first factor, “although this factor was originally expressed as a ‘participant’
versus “nonparticipant’ analysis under the facts presented in Jnte/, the true question at hand is whether
the requested discovery is available to the foreign tribunal without the assistance of this Court.” Jn re
Request for Judicial Assistance from the Dist. Court in Svitavy, Czech, 748 F. Supp. 2d 522, 526 (E.D.
Va. 2010) [hereinafter Jn re Svitavy]; see also Intel, 542 U.S. at 264 (“[NJonparticipants in the foreign
proceeding may be outside the foreign tribunal’s jurisdictional reach; hence, their evidence, available in
the United States, may be unobtainable absent § 1782(a) aid.”). Cloudflare is not a party to the
proceedings and is not subject to the Ukrainian Court’s jurisdiction because it is located in California,
thus, the first factor weighs in favor of granting the motion.

Second, there is nothing in the Letter of Request to suggest that this Court should decline to grant
the Application based on the nature of the Ukrainian Court or the character of the proceedings.

Additionally, this request was initiated by the Ukrainian Court and not by an independent party;

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therefore, the Ukrainian Court is clearly receptive to the assistance of this Court and the second factor
weighs in favor of granting the motion. See In re Svitavy, 748 F. Supp. 2d at 527 (discussing a specific
application of the second /nte/ factor).

With respect to the third factor, because the requester is the Ukrainian Court, there is sufficient
assurance that the request for judicial assistance is not an attempt to circumvent Ukraime’s discovery
rules or to thwart policies of either the United States or Ukraine. See id. at 529 (“[T]he fact that the
request was initiated by the Svitavy Court itself, rather than a private litigant, provides sufficient
assurance that the request does not attempt to circumvent Czech discovery rules or Czech policy.”).
Therefore, the third Jnte! factor weighs in favor of granting the Ukrainian Court’s request for judicial
assistance.

And with respect to the fourth factor, the requests seeks basic information (e.g., name and
address) about the person or entity who is receiving hosting services from Cloudflare and therefore
would not be unduly intrusive or burdensome. See, ¢.g., id. at 529 (holding that providing a DNA by
buccal swab is not unduly burdensome); see also In re Clerici, 481 F.3d at 1335 (holding that it was the
witness’s burden to file a motion to limit discovery, and as he had not done so, the Court was not going
to address the scope of the request). Thus, the fourth factor also weighs in favor of granting the request.

In summary, consideration of the four discretionary factors set forth by the Supreme Court in
Intel favors authorizing judicial assistance to the Ukrainian Court.

CONCLUSION

Attached as Exhibit B to the Declaration of Emmet P. Ong is the proposed subpoena that this
office intends to serve (in substantially similar format) on Cloudflare should the Court grant the
Application pursuant to 28 U.S.C. § 1782. Upon receipt, the written statement wiil be sent to the

Department of Justice, Civil Division, OLJA for transmission to the Ukrainian Court.

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WHEREFORE, the United States respectfully requests that the Court issue an Order, in the form
attached to the Application, appointing Assistant United States Attorney Emmet P. Ong as
Commissioner for the purpose of issuing a subpoena to execute the request for international judicial

assistance,

DATED: January 29, 2020 Respectfully submitted,

DAVID L. ANDERSON
United States Attorney

is! Emmet P. Ong
EMMET P. ONG
Assistant United States Attorney

 

Attorneys for the United States of America

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